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                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                             WESTERN DIVISION

UNITED STATES OF AMERICA                                                       PLAINTIFF

VS.                            NO. 4:13CR00270-01-DPM

JESSE LEE BRITTAIN                                                           DEFENDANT
                                          ORDER

       A hearing was held on May 13, 2014, on the Government’s motion to revoke bond.

(Docket entry 37) After consideration of the evidence presented, the court finds that there

are additional conditions of release that can be imposed to reasonably assure the safety of

the community. The motion to revoke is denied. Defendant is ordered released from

custody pending trial, on the following additional conditions:

       Home detention: defendant is restricted to his residence at all times except for

employment; education; religious services; medical, substance abuse, or mental health

treatment; attorney visits; court appearances; court-ordered obligations; or other activities

approved in advance by the pretrial services office; and absolutely no use of alcohol. All

other conditions of pretrial release previously imposed remain in effect.

       Failure to abide by all conditions could result in revocation of Mr. Brittain’s

pretrial release and his detention pending trial.

       IT IS SO ORDERED, this 14th day of May, 2014.


                                           ___________________________________
                                           UNITED STATES MAGISTRATE JUDGE
